         Case 1:21-cr-00088-DLF Document 117 Filed 05/09/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA             )
                                     )
v.                                   )       Case No. 21-cr-00088 DLF
                                     )
NATHANIEL DEGRAVE ,                  )
                                     )
        Defendant.                   )



        DEFENDANT NATHANIEL DEGRAVE’S RESPONSE TO COURT’S
          ORDER FOR AN ACCOUNTING OF ONLINE FUNDRAISING


        NOW COMES Defendant Nathaniel DeGrave, by and through his

undersigned counsel of record, William L. Shipley, Esq., responding to this

Court’s Order dated March 16 2023, directing Defendant DeGrave to provide

an accounting with respect to funds raised for his legal defense.

        During the term of his incarceration, Defendant DeGrave created three

fundraising sites online. A fourth fundraising site was opened in his name but

he had no involvement in that site, he had no control over that site, and he

received no funds from that site. The amount raised by that site was only

$585.

        The three sites that Defendant DeGrave did control raised a combined

total of $131,781. The company that operates the fundraising cite charges a

processing fee of approximately 3%. Total funds paid out to Mr. DeGrave total

approximately $127,800.




                                         1
       Case 1:21-cr-00088-DLF Document 117 Filed 05/09/23 Page 2 of 3




      Defendant DeGrave has had retained counsel since the summer of 2021.

Defendant DeGrave has paid $104,000 in attorneys’ fees and costs, including

attorneys’ fees and costs for the sentencing hearing.




      In exchange for assistance in negotiating the release of the funds from

the processing company (Stripe) after the refusal by Defendant DeGrave’s

personal bank (Bank of America) to accept transfer of the funds due to the

purpose for which the money was raised (legal defense of a crime of violence),

$10,000 was paid to a third party with expertise in managing online

fundraising activities who managed to secure the release of the funds.

      While Mr. DeGrave was detained pending trial, the person he relied upon

to pay the monthly fee on a storage unit holding all of Mr. DeGrave’s belongings

in Las Vegas failed to do so, and the contents of the storage unit were sold. As

a result, upon release Mr. DeGrave needed to purchase everything for the

apartment he moved into, as well as clothing and other necessities. Mr.

DeGrave’s total expenses -- including travel costs to Las Vegas for him and Mr.

Marshall who accompanied him -- were $8,080.

      Mr. DeGrave has incurred $1,715 in costs for travel and

accommodations for sentencing hearing.

      The total of the above is as follows:




                                         2
           Case 1:21-cr-00088-DLF Document 117 Filed 05/09/23 Page 3 of 3




        Attorney Fees and Costs                                       $104,0001

        Assistance re Release of Funds                                $10,000

        Resettlement and Travel Costs                                 $ 8,080

        Travel/accommodations for sentencing                          $ 1,715

        Total:                                                        $123,795



        Raised                                                        $127,800

        Balance Remaining                                             $     4,005


Dated: May 10, 2023                                          Respectfully submitted,

                                                             /s/ William L. Shipley
                                                             William L. Shipley, Jr., Esq.
                                                             PO BOX 745
                                                             Kailua, Hawaii 96734
                                                             Tel: (808) 228-1341
                                                             Email: 808Shipleylaw@gmail.com
                                                             Attorney for Defendant




1The Government has suggested that it has some insight into how much legal work has been put into the case.
The Government’s uniformed speculation is baseless. Counsel for the Government should acknowledge for the
Court a lack of experience to offer the kind of speculation that was put in the record with the motion for an
accounting. It may surprise Counsel to realize that there have been more than 200 email messages exchanged just
between the undersigned and her, without counting the messages between her and Mr. Marshall. There have
been dozens of telephone calls between the two sides, as well as significantly more than 100 calls by counsel with
the client – some very lengthy. The client sat for multiple interviews with counsel present, and had to be prepped
for each of those interviews in advance. A lengthy and detailed motion for release from custody pending trial was
prepared by counsel, and the only reason it was not filed was because counsel for the Government asked that it
not be filed while discussions about cooperation and a disposition of the case were underway. Counsel for the
Government has no knowledge or insight as to the amount of time spent by Mr. Marshall and the undersigned in
reviewing discovery and going over that discovery by telephone with the client while he was in custody. Counsel
for the Government has no knowledge or insight into the amount of time spent by Mr. Marshall and the
undersigned discussing with Mr. DeGrave the plea agreement offered by the Government and what his options
were, including the option of going to trial or pleading guilty without a plea agreement. Further, although it was
discussed that Mr. DeGrave might assist with a website set up by counsel for fundraising purposes, other vehicles
besides that website have been the primary method of raising funds for other counsel’s other clients and Mr.
DeGrave has not provided “administrator” assistance as was discussed.

                                                        3
